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IN THE UNITED STATES DISTRICT COURT FWL

FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

MARY MCMILLAN,

vs-

WAL-MART STORES,

L"", A. xe.o.

et al' ' ) W.r§. OF T§, Mh.vaPHls
)
Plaintiffs, )
)

) No. 03-2890-nv

)
INC., )
)
Defendant. )

 

ORDER GRANTING PLAINTIFF’S MOTION FOR
AMENDED SCHEDULING ORDER AND
AMENDED SCHEDULING ORDER

 

Before the court is the March 15,
for an Order Amending Scheduling Order.
a Scheduling conference was held April 21,
Louis Chiozza,

for defendant.

2005, Motion for Plaintiffs
The motion was heard and
2005.

Present were

counsel for plaintiffs, and Clint Simpson, counsel

At the conference, the following dates were

established as the final dates for:

RESPONSE TO DISCOVERY ORDERED:

COMPLETING ALL DISCOVERY:

(a)

(b)

(c)

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with Hul@ 53 and/m 79{.:1, §»».w- 5.; igif»d§

Friday, June lO, 2005

Wednesday, August 31, 2005

DOCUMENT PRODUCTION: Wednesday, Angust 31, 2005

DEPOSITIONS;
ADMISSIONS:

INTERROGATORIES AND REQUESTS FOR
Wednesday, August 31, 2005

EXPERT WITNESS DISCLOSURE (Rule 26):

(1) DISCLOSURE OF PLAINTIFF’S RULE 26 EXPERT

INFORMATION: Thursday, June 30, 2005

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(2} DISCLOSURE OF DEFENDANT’S RULE 26 EXPERT
INFORMATION: Friday, July 29, 2005

(3) EXPERT WITNESS DEPOSITIONS: Wednesday, August 31.r
2005

FILING DISPOSITIVE MOTIONS= Friday, September 30, 2005

OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery
cutoff date. All. motions, requests forl admissions, or other
filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to
respond by the time permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the
discovery deadline or within 30 days of the default or the service
of the response, answer, or objection, which is the subject of the
motion, if the default occurs within 30 days of the discovery
deadline, unless the time for filing of such motion is extended for
good cause shown, or the objection to the default, response,
answer, or objection shall be waived.

This case is set for jury, and the trial is expected to last
3 days. The pretrial order date, pretrial conference date, and
trial date will be set by the presiding judge.

This case is appropriate for ADR. The parties are directed to
engage in private mediation before Friday, July 29, 2005.

The parties are reminded that pursuant to Local Rule
ll(a)(l)(A), all motions, except motions pursuant to Fed. R. Civ.
P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in
this matter. Neither party may file an additional reply, however,
without leave of the court. If a party believes that a reply is
necessary, it shall file a motion for leave to file a reply
accompanied by a memorandum setting forth the reasons for which a
reply is required.

The parties have not consented to trial before the magistrate
judge.

This order has been entered after consultation with trial
counsel pursuant to notice. Absent good cause shown,r the

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scheduling dates set by this order will not be modified or
extended.

IT IS SO ORDERED.

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DIANE K. VESCOVO

UNITED sTATEs MAGISTRATE J_'gDGE
DATE= @//@ul .?»?, ¢’70¢’~5

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 17 in
case 2:03-CV-02890 Was distributed by faX, mail, or direct printing on
April 25, 2005 to the parties listed.

 

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CHIOZZA & ASSOCIATES
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Honorable Bernice Donald
US DISTRICT COURT

